Case 2:04-cr-20462-.]Pi\/| Document 69 Filed 08/22/05 Page 1 of 6 PageiD 103

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-v- 2:04CR20462-01-M| W__§ij §§ `:"§§ i.%z;i¢iP`rtiS

COLUMBUS iRViN
Steghen A. Sauer, CJA
Defense Attorney
8 South Third Street, 4th Fioor
Memphis, TN 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on iV|ay 12, 2005. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Titre & section MM Offense Number(s)
Conc|uded
18 U.S.C. § 472 and § 2 Uttering Counterfeit Ob|igations or 03/25/2004 1

Securities

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fuin paid.

Defendant’s Soc. Sec. No. 411-31~3170 Date of imposition of Sentence:
Defendant’s Date of Birth: 07/05/1978 _ August 19, 2005
Deft’s U.S. Marshai No.: 20041-076

Defendant’s Niailing Address:

3019 Peggy Road
iViemphis, TN 38128

JON PH|PPS MCCALLA
UN|TE STATES D|STR|CT JUDGE

August / q , 2005

 

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This document entered on the docket sheet in co pile

with FiLiie 55 andfcii' 32(b) FRC\'P On

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Case No: 2:04CR20462-01-M| Defendant Name: Columbus iRVlN Page 2 of 5
|MPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 4 Months.

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States Marshai.

RETU RN

| have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshai

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Case No: 2:04CR20462-01-M| Defendant Name: Columbus iRVlN Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 Years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised reiease, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substancel The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicia| district without the permission of the court or probation ofticer;

2. The defendant shall report to the probation ocher as directed by the court or probation officer and shall
submit a truthful and complete written report within the Hrst Hve days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation ocher for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation ocher ten(10) days prior to any change in residence or
empioyment;

6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use.

distributer or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician. and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, used,
distributed, or administered;

8. Th_e defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation oft`icer;

9. The defendant shall permits probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a

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Case No: 2:04CR20462-O1-Mi Defendant Name: Columbus lRViN Page 4 of 5
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligaticn, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminai Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

1. The defendant shall participate in the Home Detention program for a period of 4 Months.
During this time, defendant will remain at defendant’s place of residence except for
employment and other activities approved in advance by the defendant’s Probation Officer.
Defendant will be subject to the standard conditions of Home Detention adopted for use in
the Westem District of Tennessee, which may include the requirement to wear an electronic
monitoring device and to follow electronic monitoring procedures specified by the Probation
Offioer. Further, the defendant shall be required to contribute to the costs of services for
such monitoring not to exceed an amount determined reasonable by the Probation Officer
based on ability to pay (or availability of third party payment) and in conformance with the
Probation Office’s Sliding Sca|e for E|ectronic Monitoring Services.

2. The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation Office.

3. The defendant shall cooperate with DNA collection as directed by the Probation Office.

4. The defendant shall seek and maintain full-time employment

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Case No: 2:04CR20462-01-Mi Defendant Name: Columbus iRViN Page 5 of 5

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|| of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

 

Total Assessment Total Fine Total Restitution
$100.00

The Special Assessment shall be due immediately
FiNE
No fine imposed.

REST|TUTION

No Restitution was ordered.

   

uNlTED STAESTTDISRIC COURT -WESRTE DISTRIC TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 69 in
case 2:04-CR-20462 Was distributed by faX, mail, or direct printing on
August 22, 2005 to the parties listed.

 

 

Stephen A. Sauer

LAW OFFICE OF STEPHEN A. SAUER
8 S. Third St.

4th Floor

Memphis7 TN 38103

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on MeCalla
US DISTRICT COURT

